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                        8   San Jose, CA 95109-1469
                            Telephone:    (408) 286-9800
                        9   Facsimile:    (408) 998-4790
                   10       Attorneys for Plaintiffs and Counter-Defendants
                            NEO4J, INC. and NEO4J SWEDEN AB
                   11

                   12                                          UNITED STATES DISTRICT COURT

                   13                                    NORTHERN DISTRICT OF CALIFORNIA

                   14       NEO4J, INC., a Delaware corporation,               CASE NO. 5:18-cv-07182-EJD
                            NEO4J SWEDEN, AB,
                   15                                                          JOINT TRIAL EXHIBIT LIST
                                                 Plaintiffs,
                   16
                                     v.
                   17
                            PURETHINK LLC, a Delaware limited
                   18       liability company, IGOV INC., a Virginia
                            corporation, and JOHN MARK SUHY, an
                   19       individual,
                   20                            Defendants.
                   21
                            AND RELATED COUNTERCLAIMS.
                   22

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H OPKINS & C ARLEY
  ATTORNEYS AT LAW          4861-7545-4850.2
 SAN JOSE   PALO ALTO
                            JOINT TRIAL EXHIBIT LIST                                                CASE NO. 5:18-CV-07182-EJD
                            Case 5:18-cv-07182-EJD          Document 208         Filed 09/28/23       Page 2 of 33



                        1            In accordance with Rule 16 of the Federal Rules of Civil Procedure and pursuant to the
                        2   Court’s Standing Order For Civil Trials, (hereinafter the “Court’s Standing Pretrial Order”),
                        3   Plaintiffs Neo4j, Inc. and Neo4j Sweden AB (collectively, “Plaintiffs”), PureThink LLC, iGov
                        4   Inc., and John Mark Suhy (collectively, “Defendants”) submit a joint list of exhibits likely to be
                        5   employed by the parties at the trial of this action. This joint list is attached hereto as Exhibit A.
                        6            Exhibits marked by Plaintiffs are numbered 1 through 207. Additional exhibits that
                        7   Plaintiffs will use at trial are marked with numbers between 208 and 1000. Exhibits marked by
                        8   Defendants are numbered 1001 through 1106. Additional exhibits Defendants will use at trial are
                        9   marked with numbers 1107 through 2000. The parties also reserve their right to offer as exhibits
                   10       additional documents that become necessary for rebuttal or impeachment purposes.
                   11       Dated: September 28, 2023                           HOPKINS & CARLEY
                                                                                A Law Corporation
                   12

                   13
                                                                                By: /s/ Jeffrey M. Ratinoff
                   14                                                              John V. Picone III
                                                                                   Jeffrey M. Ratinoff
                   15                                                              Arthur E. Rothrock
                                                                                   Attorneys for Plaintiffs and
                   16                                                              Counter-Defendants
                                                                                   NEO4J, INC. and NEO4J SWEDEN AB
                   17

                   18       Dated: September 28, 2023                                 /s/ Adron W. Beene
                                                                                    Adron W. Beene
                   19                                                               Adron G. Beene
                                                                                    Attorneys for Defendants and Counter-
                   20                                                               Claimants
                                                                                    PURETHINK LLC, IGOV INC., and
                   21                                                               JOHN MARK SUHY
                   22

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                   28
H OPKINS & C ARLEY
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 SAN JOSE   PALO ALTO
                            JOINT TRIAL EXHIBIT LIST                                                      CASE NO. 5:18-CV-07182-EJD
                            Case 5:18-cv-07182-EJD           Document 208        Filed 09/28/23     Page 3 of 33



                        1                              ATTESTATION OF E-FILED SIGNATURE
                        2            Pursuant to Local Rule 5-1(i)(3), I hereby certify that I have obtained the concurrence in

                        3   the filing of this document from all signatories for whom a signature is indicated by a

                        4   “conformed” signature (/s/) within this electronically filed document and I have on file records to

                        5   support this concurrence for subsequent production to the Court if so ordered or for inspection

                        6   upon request.

                        7   Dated: September 28, 2023                           HOPKINS & CARLEY
                                                                                A Law Corporation
                        8

                        9
                                                                                By: /s/ Jeffrey M. Ratinoff
                   10                                                              John V. Picone III
                                                                                   Jeffrey M. Ratinoff
                   11                                                              Arthur E. Rothrock
                                                                                   Attorneys for Plaintiffs and
                   12                                                              Counter-Defendants
                                                                                   NEO4J, INC. and NEO4J SWEDEN AB
                   13

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H OPKINS & C ARLEY
  ATTORNEYS AT LAW          4861-7545-4850.2
 SAN JOSE   PALO ALTO
                            JOINT TRIAL EXHIBIT LIST                                                    CASE NO. 5:18-CV-07182-EJD
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                                                         EXHIBIT A
                           Case 5:18-cv-07182-EJD               Document 208           Filed 09/28/23      Page 5 of 33
                                                        Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                     Joint Exhibit List
                                                                                                                             Date Marked for
Ex. No.     Date                          Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                   ID
                     Trademark Registration Certificate for "Neo4j"
  1       08/04/14                                                         N4J_000001                     Philip Rathle
                     trademark, Registration No. 4,784,280.
                     Capture of Neo4j USA's October 12, 2015 Trademark
  2       10/12/15   Policy located at https://neo4j.com/trademark‐    Dkt. No. 98‐2, Exh. 5              Philip Rathle
                     policy/
                     Exemplar of AGPL as previously used by Neo4j
  3       11/07/20                                                     Dkt. No. 98‐2, Exh. 1              Philip Rathle
                     Sweden for Neo4j® EE version 3.3
                     Rathle announcement published on Neo4j USA's
                     website regarding the release of Neo4j® CE and
  4       05/17/18                                                     Dkt. No. 98‐2, Exh. 2              Philip Rathle
                     Neo4j® EE version 3.4 and introduction of Commons
                     Clause
                     Neo4j Sweden Software License used with Neo4j® EE
  5       11/07/20                                                     Dkt. No. 98‐2, Exh. 3              Philip Rathle
                     version 3.4, which includes the Commons Clause
                     Announcement regarding the release of Neo4j CE
  6       11/15/18   and Neo4j EE v3.5 published by Rathle on Neo4j            Dkt. No. 98‐2, Exh. 4      Philip Rathle
                     USA's website
                     Press release issued by Neo4j USA titled "Neo4j is
                                                                                                         Philip Rathle or
  7       10/22/19   the Graph Database of Choice for World's Top              Dkt. No. 98‐3, Exh. 8
                                                                                                         Jason Zagalsky
                     Financial Services Organization"
                     Press release issued by Neo4j USA titled "Neo4j
  8       01/29/20   Marks Another Year of Product, Customer and               Dkt. No. 98‐3, Exh. 7     Jason Zagalsky
                     Community Momentum"
                     Press release issued by Neo4j USA titled "Neo4j is
  9       10/20/20   the Choice of Leading Companies for Graph                 Dkt. No. 98‐3, Exh. 4     Jason Zagalsky
                     Databases in the Cloud"
                     Printout of Neo4j USA webpage, providing links to
  10      11/25/20                                                      Dkt. No. 98‐3, Exh. 1            Jason Zagalsky
                     various awards received, https://neo4j.com/awards/
  11      09/22/23   Neo4j Awards and Honors web capture                                 N/A              Philip Rathle
                     9/24/2020 Aggregator Agreement between Neo4j,                                      Lars Nordwall or
  12      09/24/20                                                                  N4J_020264
                     Inc. and Carahsoft Technology Corporation                                           Kelly Zawalski


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                            Case 5:18-cv-07182-EJD                Document 208           Filed 09/28/23      Page 6 of 33
                                                          Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                       Joint Exhibit List
                                                                                                                               Date Marked for
Ex. No.     Date                            Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                     ID
                                                                                                          Kelly Zawalski or
                                                                                   N4J_019991 ‐ HC‐
  13      2016‐2022   Neo4j USA Income Statement FY16 through Q3‐FY22                                       Mike Asher
                                                                                         AEO
                      Neo4j USA Monthly Closed Won Report as of 2022‐              N4J_019992 ‐ HC‐       Kelly Zawalski or
  14      10/24/22
                      10‐24                                                              AEO                 Mike Asher
                                                                                   N4J_020132 ‐ HC‐       Kelly Zawalski or
  15      11/14/22    Neo4j Monthly Closed Won Report as of 2022‐11‐14
                                                                                         AEO                 Mike Asher
                                                                                   N4J_020187 ‐ HC‐       Kelly Zawalski or
  16      10/01/17    Neo4j USA Price List, Effective Oct 1, 2017
                                                                                         AEO                 Mike Asher
                                                                                   N4J_020230 ‐ HC‐       Kelly Zawalski or
  17      04/01/19    Neo4j USA Price List, Effective April 1, 2019
                                                                                         AEO               Jason Zagalsky
                                                                                   N4J_020201 ‐ HC‐       Kelly Zawalski or
  18      04/01/20    Neo4j USA Price List, Effective April 1, 2020
                                                                                         AEO               Jason Zagalsky
                                                                                   N4J_020153 ‐ HC‐       Kelly Zawalski or
  19      07/01/21    Neo4j USA Price List, Effective July 1, 2021
                                                                                         AEO               Jason Zagalsky
                      Solicitation/Contract/Order for Commercial Items
                                                                                                          John Mark Suhy or
  20      09/29/14    from MPO to PureThink for Neo4j Enterprise Edition                00012000
                                                                                                            Jason Zaglasky
                      commercial License
                      Neo4j Solution Partner Agreement between Neo4j
  21      09/30/14    Inc. and PureThink LLC, signed by John Mark Suhy on             N4J_000004            Lars Nordwall
                      behalf of PureThink.
                      Email and attachment sent by John Mark Suhy to Erik
                      Nolten regarding the purpose of the Government                                       Lars Nordwall or
  22      04/09/15                                                                 PT00003382.001
                      Edition and an attachment stating that Neo4j has the                                   Philip Rathle
                      right to cancel exclusive reseller status at anytime
                      Email exchange between John Mark Suhy and Erik
                      Nolten where Suhy indicates that the exclusivity
                                                                                                           Lars Nordwall or
  23      04/10/15    agreement would consist of two letters, with the             PT00003380.001
                                                                                                             Philip Rathle
                      internal one stating that Neo4j has the right to
                      cancel exclusive reseller status at anytime.



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                            Case 5:18-cv-07182-EJD               Document 208           Filed 09/28/23      Page 7 of 33
                                                         Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                      Joint Exhibit List
                                                                                                                              Date Marked for
Ex. No.     Date                           Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                    ID
                      Email sent by Erik Nolten to John Mark Suhy with
                                                                                  PT00003371.001;
                      Lars Nordwall's signatures on two letters regarding                                 Lars Nordwallor
  24      04/10/15                                                                PT00003372.001;
                      iGov being the exclusive reseller of the Government                                   Philip Rathle
                                                                                  PT00003373.001
                      Edition
                      Email from Erik Nolten to John Mark Suhy re
                                                                                  PT00003344.001;
                      PureThink LLC ‐ signed, enclosing Neo4j‐signed April
  25      04/17/15                                                                PT00003345.001;         John Mark Suhy
                      11, 2015 internal and external Neo4j Gov't Edition
                                                                                  PT00003346.001
                      letters
                      Email from John Mark Suhy to Erik Nolten re
                      PureThink LLC ‐ signed, confirming receipt of Neo4j‐
  26      04/17/15                                                                PT00003343.001          John Mark Suhy
                      signed April 11, 2015 internal and external Neo4j
                      Gov't Edition letters
                      Email sent by John Mark Suhy to David Frauth re why                                 Lars Nordwall or
  27      07/14/15                                                                PT00003112.001
                      the Government Edition was created.                                                   Philip Rathle
                      Email and attachment sent by John Mark Suhy to
                                                                                  PT00003056.001;         Lars Nordwall or
  28      07/28/15    Charles Fischer re why the Government Edition was
                                                                                  PT00003057.001            Philip Rathle
                      created.
                      Email exchange between Erik Nolten and Charles
                                                                                                          Lars Nordwall or
  29      07/31/15    Fischer attaching the internal and external April 11,          N4J_002105
                                                                                                            Philip Rathle
                      2015 letters signed by Lars Nordwall
                      Email from John Mark Suhy to Scott Colip of KSM
  30      09/09/15    Consulting explaining that Government Edition was           PT00002924.001          John Mark Suhy
                      created to obtain sole source procurement
                      Order for Supplies or Services from FBI to PureThink                               John Mark Suhy or
  31      09/29/15                                                                     00012053
                      for Neo4j Enterprise Edition commercial License                                      Jason Zaglasky

                      Email from John Mark Suhy to David Fauth regarding
  32      1/28/2016                                                               PT00000160.001          John Mark Suhy
                      Neo4j Government Edition with attached diagrams
                      Email from John Mark Suhy to David Mohr re
  33      8/25/2016   Government Edition consists of Neo4j Enterprise             PT00001226.001          John Mark Suhy
                      Edition + FISMA framework


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                                                                      Joint Exhibit List
                                                                                                                                 Date Marked for
Ex. No.     Date                           Description                                 Begs Bates        Sponsoring Witness                        Date Admitted
                                                                                                                                       ID

                      IRS Order for Supplies or Services, Order No. TIRNO‐
                                                                                                          Michael Dunn or
  34      09/23/16    16‐P‐00202, to PureThink for implementation of                      105
                                                                                                          John Mark Suhy
                      Neo4j Government Edition for $229,000
                      Email sent by John Mark Suhy to Philip Rathle
                                                                                                         Philip or John Mark
  35      10/27/16    regarding the FBI not renewing their subscription for       PT00000960.001
                                                                                                                 Suhy
                      Neo4j EE.
                                                                                  PT00000676.001;
                      Email from John Mark Suhy to Lars Nordwall and                                     Philip Rathle or Lars
  36      01/26/17                                                                PT00000677.001;
                      Philip Rathle re Discussion Topics                                                       Nordwall
                                                                                  PT00000678.001
                      Email exchange between John Mark Suhy and John
                                                                                                         John Mark Suhy or
  37      03/15/17    Broad regarding renegotiating the Partner                        00004046
                                                                                                           Jason Zaglasky
                      Agreement
                      Email from John Broad to John Mark Suhy regarding
  38      04/04/17                                                                     0000191             Jason Zagalsky
                      the IRS using Neo4j EE under the AGPL
                      Email from John Mark Suhy to Jason Zagalsky,
  39      04/04/17    copying the IRS, stating that the IRS can Neo4j EE               0000205             Jason Zagalsky
                      under the AGPL
                      Email from Jason Zagalsky to John Mark Suhy
  40      04/04/17    admonishing Suhy for advising the IRS to use Neo4j               0000206             Jason Zagalsky
                      EE under the AGPL
                      Email sent by John Mark Suhy to Philip Rathle
  41      5/12/2017                                                                    00004185             Philip Rathle
                      regarding the IRS using Neo4j EE under the AGPL
                      Letter from Lars Nordwall to John Mark Suhy
                      providing notice of breach of Partner Agreement                                     Lars Nordwall or
  42      05/30/17                                                                      000226
                      based on PureThink using and supporting open                                         Jason Zagalsky
                      source Neo4j software.
                      Email sent by John Broad (copying Jason Zagalsky) to
  43      06/19/17    John Mark Suhy providing notice of discontinuing            PT00000482.001           Jason Zagalsky
                      Government Edition effective June 19, 2017




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                           Case 5:18-cv-07182-EJD               Document 208           Filed 09/28/23      Page 9 of 33
                                                        Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                     Joint Exhibit List
                                                                                                                             Date Marked for
Ex. No.     Date                          Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                   ID
                     Articles of Incorporation for iGov, Inc., which
                     establish that iGov was formed by Suhy after Neo4j
  44      06/23/17                                                                  N4J_000156           John Mark Suhy
                     USA sent PureThink a notice of breach of the Partner
                     Agreement.
                     Email sent by John Mark Suhy to John Broad and
                     Jason Zagalsky confirming he will take down Neo4j
  45      06/29/17                                                               PT00000467.001          Jason Zagalsky
                     mark and Government Edition from PureThink's
                     website
                     Email exchange between John Mark Suhy and Sascha
                     Moccozet of the National Institute of Standards and
                                                                         IGOV0001570573.00
  46      07/06/17   Technology explaining that the Neo4j Government                                     John Mark Suhy
                                                                                 1
                     Edition "is just Neo4j Enterprise + FISMA Framework
                     plugins + Additional support and services"
                     Letter from Lars Nordwall of Neo4j USA to John
  47      07/11/17   Mark Suhy of PureThink LLC providing notice of                    000245             Lars Nordwall
                     termination of the Partner Agreement.
                     Email from Jason Zagalsky to Michael Dunn regarding
  48      07/11/17                                                                  N4J_010916           Jason Zagalsky
                     termination of PureThink as a Neo4j partner
                     Email from John Mark Suhy to Brian Rodrigue re
                                                                               IGOV000285490.001;
                     Some updates on new package, representing that
                                                                                IGOV0002854591.00
                     "Neo4j Government Edition is being retired and the
  49      07/11/17                                                                     1;                John Mark Suhy
                     framework and services we developed are going to
                                                                                IGOV0002854592.00
                     be offered under the new name : Government
                                                                                        1
                     Package for Neo4j"
                     Email from John Mark Suhy to Sascha Moccozet re           IGOV0002860420.00
                     Price List Attached, representing that "Neo4j                    1;
                     Government Edition is being retired and the               IGOV0002860421.00
  50      07/11/17                                                                                       John Mark Suhy
                     framework and services we developed are going to                 1;
                     be offered under the new name : Government                IGOV0002860422.00
                     Package for Neo4j"                                                1


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                                                         Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                      Joint Exhibit List
                                                                                                                              Date Marked for
Ex. No.     Date                           Description                                  Begs Bates       Sponsoring Witness                     Date Admitted
                                                                                                                                    ID
                     Email exchange between John Mark Suhy and
                                                                                IGOV0001570544.00        Mike Dunn or John
  51      07/12/17   Michael Dunn of the IRS regarding PureThink
                                                                                        1                   Mark Suhy
                     continuing to fulfill its contractual obligations
                                                                          IGOV0001570511.00
                                                                                    1;
                     Email from Daniels Vivan to John Mark Suhy
                                                                          IGOV0001570512.00               Michael Dunn or
  52      07/27/17   enclosing RFQ and SOW to John Mark Suhy for CKGE
                                                                                    1;                    John Mark Suhy
                     support contract
                                                                          IGOV0001570513.00
                                                                                     1
                     Follow‐up email from John Mark Suhy to Sascha
                     Moccozet of the National Institute of Standards and
  53      08/03/17                                                        IGOV000153905.001               John Mark Suhy
                     Technology regarding the IRS moving to iGov and
                     "Government Packages for Neo4j Enterprise.
                     Email sent by John Mark Suhy to Carol Sinnard of the
                     National Geospatial‐Intelligence Agency wherein he
  54      09/08/17                                                              000036000                 John Mark Suhy
                     explains that iGov is the successor‐in‐interest to
                     PureThink.
                     Email from John Mark Suhy to Ankur Patel re IRS
                                                                          IGOV0002908953.00
  55      01/02/18   RAAS Data Analytics and Innovation Support: Data                                     John Mark Suhy
                                                                           1; IGOV0002908954
                     Call #1 (iGov)
                     Email from John Mark Suhy to Michael Stavrianos re IGOV0003027601.00
  56      01/18/18                                                                                        John Mark Suhy
                     CKGE for RAAS renewal                                           1
                     Letter from the Department of Treasurer to John
                     Mark Suhy enclosing Neo4j, Inc.'s September 19,
  57      02/15/18                                                                000267                  John Mark Suhy
                     2017 Agency‐Level Protest of the IRS's sole‐source
                     award to iGov
                     Email sent by John Mark Suhy to Benjamin
  58      03/26/18   Nussbaum and Brand Nussbaum regarding using            IGOV0001570252                John Mark Suhy
                     Neo4j Mark




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                                                       Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                    Joint Exhibit List
                                                                                                                            Date Marked for
Ex. No.     Date                         Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                  ID
                     Email exchange between John Mark Suhy to Philip
                     Rathle (without attachments) where Rathle warns
  59      05/01/18   Suhy about improper use of Neo4j Mark and Suhy        IGOV0000298.001       Philip Rathle
                     tells Rathle that he is forming a non‐profit to fork
                     Neo4j EE.
                     Email sent by John Mark Suhy to Benjamin
  60      05/21/18   Nussbaum and Brand Nussbaum regarding starting a IGOV0001570192          John Mark Suhy
                     non‐profit to fork Neo4j EE
                     Email exchange between John Mark Suhy and
                     Donald Robertson of FSF regarding the removal of     IGOV0001570187.00
  61      05/22/18                                                                            John Mark Suhy
                     the Commons Clause from the Neo4j Sweden                      1
                     Software License
                     Email exchange between John Mark Suhy and
                     Donald Robertson FSF regarding the removal of the IGOV0001570157.00
  62      06/20/18                                                                            John Mark Suhy
                     Commons Clause from the Neo4j Sweden Software                 1
                     License
                     Email exchange between John Mark Suhy and
                                                                          IGOV0001573221.00
  63      07/09/18   Mariano Lopez of Analytica spanning July 6, 2018                         John Mark Suhy
                                                                                   1
                     and July 9, 2018 regarding the IRS adopting ONgDB
                     Email from John Mark Suhy to Ben Nussbaum
                                                                          IGOV0001570130.00
  64      07/25/18   discussing founding of Graph Foundation and                              John Mark Suhy
                                                                                  01
                     competing with Neo4j USA
                     Continued email exchange between John Mark Suhy
                     and Donald Robertson of FSF regarding the removal IGOV0001570125.00
  65      08/21/18                                                                            John Mark Suhy
                     of the Commons Clause from the Neo4j Sweden                   1
                     Software License
                     Email from John Mark Suhy to Brian Rodrigue of
  66      08/10/18   Excella regarding the formation of Graph Foundation IGOV0001570129       John Mark Suhy
                     and its distribution of ONgDB
                     Issue raised on Neo4j Online Community webpage,
                                                                                            Philip Rathle or John
  67      11/16/18   https://community.neo4j.com/t/Neo4j‐desktop‐vs‐        N4J‐GFI_000008
                                                                                                  Mark Suhy
                     neo4j‐server/3066/, regarding ONgDB


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                                                                    Joint Exhibit List
                                                                                                                            Date Marked for
Ex. No.     Date                         Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                  ID
                     Email exchange between John Mark Suhy and
                     Benjamin Nussbaum where Suhy forwards link,
  68      01/09/19   https://community.neo4j.com/t/neo4j‐desktop‐vs‐         IGOV0001570054             John Mark Suhy
                     neo4j‐server/3066/ regarding ONgDB, of issue raised
                     on Neo4j Online Community
                     Email from John Mark Suhy to Lee Smales at the
                     Department of the Air Force where Suhy points him
  69      08/22/18                                                           IGOV0001573588             John Mark Suhy
                     to ONgDB via the GFI website and confirms IRS is
                     using ONgDB
                     Email exchange between John Mark Suhy and Joerg
                                                                           IGOV0001570039.00
  70      01/18/19   Bacch where Suhy points him to ONgDB 3.5 via the                                   John Mark Suhy
                                                                                    1
                     GFI website
                     Unsolicited email from John Mark Suhy to Ron
  71      01/25/19   Turner of Expressrules directing him to download        IGOV0001573421             John Mark Suhy
                     ONgDB via GFI's website.
                     Tweet issued from John Mark Suhy's Twitter
                     account, printed on October 2, 2019 encouraging
  72      02/23/19                                                             N4J_018927               John Mark Suhy
                     users to download ONgDB via GFI's GitHub
                     repository
                     Printout of commit titled "Updated the LICENSE.txt
                     file to be pure AGPL as to not violate the fsf
  73      03/01/19   copyright and to be in line with the AGPL license" by     N4J_019041               John Mark Suhy
                     John Mark Suhy to GFI's GitHub repository for
                     ONgDB v3.5
                     Email exchange between John Mark Suhy and Jyothi
                                                                        IGOV0001573375.00
  74      03/10/19   Viswanadham at Daytona Technologies Ltd. directing                                 John Mark Suhy
                                                                               01
                     him to download ONgDB via GFI's website
                     Email exchange between John Mark Suhy and Robin
                     Witherspoon of Perspecta Engineering, Inc. where he IGOV0001573351.00
  75      03/26/19                                                                                      John Mark Suhy
                     provides links to download ONgDB 3.5 via the GFI           01
                     website and GitHub repository


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                          Case 5:18-cv-07182-EJD               Document 208           Filed 09/28/23       Page 13 of 33
                                                        Neo4j, Inc., et al. v. PureThink, LLC, et al.
                                                                     Joint Exhibit List
                                                                                                                             Date Marked for
Ex. No.     Date                          Description                                 Begs Bates        Sponsoring Witness                     Date Admitted
                                                                                                                                   ID
                     Email from John Mark Suhy to Patrick Widener of
  76      03/29/19   Sandia National Laboratories where he provides links IGOV0001570021                 John Mark Suhy
                     to download ONgDB 3.5 via the GFI website
                     Emails sent by John Mark Suhy to steins@sec.gov
                                                                           IGOV0001573343.00
  77      05/07/19   where he provides links to download ONgDB 3.5 via                                   John Mark Suhy
                                                                                     01
                     the GFI website and GitHub repository
                     Issue #4 opened by John Mark Suhy on GFI's GitHub
                     repository,
  78      05/26/19   https://github.com/graphfoundation/ongdb/issues/          N4J_019982                John Mark Suhy
                     4 where Suhy provides assistance to ONgDB user
                     having technical issues
                     Tweet issued from John Mark Suhy's Twitter
  79      01/20/20   account, printed on October 19, 2020 encouraging          Depo Exh. 39              John Mark Suhy
                     users to download ONgDB via GFI's website
                     Email exchange between John Mark Suhy and Sergio IGOV0002856686.00
  80      01/24/20                                                                                       John Mark Suhy
                     Pires regarding issue with ONgDB v3.5.3                         1
                     Email from John Mark Suhy and Keoni Gasparat of
                                                                           IGOV0002851597.00
  81      02/19/20   Neo4j, inform, copying JCI personnel, telling them to                               John Mark Suhy
                                                                                     01
                     use ONgDB over Neo4j EE
                     Email exchange between John Mark Suhy and Ravi
                                                                           IGOV0002856672.00
  82      04/10/20   Pappu where Suhy refers him to GFI to GraphGrid to                                  John Mark Suhy
                                                                                     1
                     assist with transition form Neo4j to ONgDB
                                                                           IGOV0002851647.00
                     Letter from John Mark Suhy to Traci Brinkley
                                                                                     1;
  83      07/10/20   enclosing Agency‐Level Delivery Order Protest                                       John Mark Suhy
                                                                           IGOV0002851648.00
                     Objection Solicitation 2032H5‐20‐F‐00394
                                                                                     1
                     Email exchange between John Mark Suhy and Philip
                                                                           IGOV0002956759.00
  84      03/04/21   Kreismayr of Lemon42 GmbH regarding issues with                                     John Mark Suhy
                                                                                     1
                     ONgDB v3.5.22
                     Tweet issued from John Mark Suhy's Twitter account
                                                                            Dkt. No. 183‐1, Exh.
  85      04/03/21   encouraging the adoption of Graphstack GDB over                                     John Mark Suhy
                                                                                     49
                     Neo4j EE


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                                                                                                                             Date Marked for
Ex. No.     Date                          Description                                Begs Bates         Sponsoring Witness                     Date Admitted
                                                                                                                                   ID
                     11/1/2017 archive of PureThink LLC's webpage,
                     http://purethink.com/, from Wayback Machine,                                       John Mark Suhy or
  86      11/01/17                                                                   00020015
                     which states that iGov was formed by the "principle                                  Jason Zaglasky
                     behind PureThink"
                     Printout of iGov's webpage,                           Exhibit 3 to the
                                                                                                        John Mark Suhy or
  87      01/13/18   https://igovsol.com/about.html, which states that   10/22/20 deposition
                                                                                                          Jason Zaglasky
                     iGov was formed by the "principle behind PureThink"    of Defendants
                     Copy of printout of iGov's webpage,
                     https://igovsol.com/neo4j.html, showing use of
  88      01/13/18                                                          Depo Exh. 11
                     Neo4j Mark in "Government Development Packages
                     for Neo4j"
                     12/04/18 archive of iGov's webpage,
                     https://igovsol.com/neo4j.html, from Wayback
  89      12/04/18                                                           N4J_018824                  John Mark Suhy
                     Machine showing infringement of Neo4j Mark and
                     encouraging download of ONgDB from GFI
                     07/05/2019 archive of iGov's webpage,
                     https://igovsol.com/index.html, from Wayback
  90      07/05/19                                                               N/A
                     machine, encouraging users to adopt ONgDB for free
                     over Neo4j EE
                     10/01/19 capture of iGov's webpage,
  91      10/01/19   https://igovsol.com/index.html, encouraging users       N4J_018834                  John Mark Suhy
                     to adopt ONgDB for free over Neo4j EE
                     10/02/2019 capture of iGov's webpage,
                     https://igovsol.com/neo4j.html showing
  92      10/02/19                                                           N4J_018842                  John Mark Suhy
                     infringement of Neo4j Mark and encouraging
                     download of ONgDB from GFI
                     5/20/2020 archive of GFI's webpage,
                     https://www.graphfoundation.org/projects/ongdb/,
  93      05/20/20                                                      Dkt. No. 98‐1, Exh. 57           John Mark Suhy
                     from Wayback Machine with download links for
                     ONgDB



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                                                                   Joint Exhibit List
                                                                                                                           Date Marked for
Ex. No.     Date                        Description                                Begs Bates         Sponsoring Witness                     Date Admitted
                                                                                                                                 ID
                     07/27/20 capture of iGov's webpage,
                     https://igovsol.com/neo4j.html showing
  94      07/27/20                                                                N4J_018892           John Mark Suhy
                     infringement of Neo4j Mark and encouraging
                     download of ONgDB from GFI
                     9/13/2020 archive from Wayback Machine of iGov's
                     webpage, https://graphstack.io/webpage/,
  95      09/13/20                                                                N4J_018816           John Mark Suhy
                     containing download links for improperly licensed
                     ONgDB
                     10/22/2020 archive from Wayback Machine of
                     iGov's webpage,
  96      10/22/20                                                               N4J_0199964           John Mark Suhy
                     https://igovsol.com/downloads.html, containing
                     download links for ONgDB
                     10/22/2020 archive from Wayback Machine of
                     iGov's webpage, https://igovsol.com/index.html,
  97      10/22/20                                                                N4J_019970           John Mark Suhy
                     encouraging users to adopt ONgDB for free over
                     Neo4j EE
                     12/9/2020 archive of GFI's webpage,
  98      12/09/20   https://www.graphfoundation.org/projects/ongdb/,             N4J_019978           John Mark Suhy
                     showing 14,000+ downloads of ONgDB
                     3/5/2021 archive of iGov's Graphstack webpage
                     from the Wayback Machine, https://graphstack.io,         Dkt. No. 183‐1, Exh.
  99      03/05/21                                                                                     John Mark Suhy
                     with download links to zip files containing ONgDB                 48
                     and Graphstack GDB
                     12/3/2021 archive of iGov's Graphstack webpage
                     from the Wayback Machine, https://graphstack.io,         Dkt. No. 183‐1, Exh.
 100      12/03/21                                                                                     John Mark Suhy
                     with download links to zip files containing                       50
                     improperly licensed ONgDB and Graphstack GDB.
                     3/31/2022 archive of iGov's Graphstack webpage
                     from the Wayback Machine, https://graphstack.io,         Dkt. No. 183‐1, Exh.
 101      03/31/22                                                                                     John Mark Suhy
                     with download links to zip files containing ONgDB                 51
                     and Graphstack GDB.



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                                                                     Joint Exhibit List
                                                                                                                             Date Marked for
Ex. No.     Date                          Description                                Begs Bates         Sponsoring Witness                     Date Admitted
                                                                                                                                   ID
                     10/02/2019 capture of iGov's webpage,
 102      10/02/19   https://igovsol.com/downloads.html containing                  N4J_018836           John Mark Suhy
                     download links for ONgDB
                     Email from Jason Zagalsky to Michael Smolyak re
 103      06/14/18   commercial license needed for certain enterprise‐            CACI00005431            Jason Zagalsky
                     only features
                     Email from Dian Griffith to Seth Cooper and Shahak
                                                                                                        Jim Weyant or John
 104      10/01/18   Nagiel of Next Century, referencing links to iGov's          CACI00005178
                                                                                                            Mark Suhy
                     website regarding its packages for Neo4j and pricing
                     Email from Diane Griffith to Shahak Nagiel discussing
                     iGov's representations regarding the
 105      10/17/18   iGov/Graphstack free version of Neo4j Enterprise             CACI00004994             Jim Weyant
                     having the same enterprise‐only features as
                     commercially licensed Neo4j EE
                     Email exchange between John Mark Suhy and
                     Shahak Nagiel of Next Century Corp where Suhy
 106      10/22/18                                                                CACI00004966             Jim Weyant
                     points him to ONgDB 3.4 via the GFI github
                     repository and confirms IRS is using ONgDB
                     Email from John Mark Suhy to Shahak Nagiel
                     confirming that iGov‐packaged Neo4j enterprise                                     Jim Weyant or John
 107      10/26/18                                                                CACI00004931
                     distributions and ONgDB include the enterprise‐only                                    Mark Suhy
                     multi‐data centers feature
                     Email from John Mark Suhy to Shahak Nagiel
                                                                                                        Jim Weyant or John
 108      01/04/19   regarding working on and anticipated release of              CACI00003832
                                                                                                            Mark Suhy
                     ONgDB 3.5.1
                     Email from Shahak Nagiel to Jim Weyant re Neo4j
 109      02/01/19   PoC Status re going with open source alternative             CACI00003635             Jim Weyant
                     (ONgDB) to Neo4j EE




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Ex. No.     Date                          Description                                Begs Bates         Sponsoring Witness                     Date Admitted
                                                                                                                                   ID
                     Email from Shahak Nagiel to Jason Zagalsky Re:
                     Neo4j licensing informing him that open‐sourced
 110      02/05/19                                                                CACI00003597            Jason Zagalsky
                     builds from the Neo4j source code provided the
                     needed clustering and security requirements
                     Email from Ben Nussbaum to John Mark Suhy re              IGOV0001573405.00
 111      02/19/19                                                                                       John Mark Suhy
                     NextCentury questions re licensing of ONgDB                      01
                     Email from Ben Nussbaum to Shahak Nagel after             IGOV0001573400.00
 112      02/19/19                                                                                       John Mark Suhy
                     intro from John Mark Suhy discussing ONgDB v.3.5                 01
                     Email from Shahak Nagiel to Brad Nussbaum
                     regarding Suhy's comments about Neo4j Sweden                                       Jim Weyant or John
 113      02/19/19                                                                CACI00003512
                     adding the Commons Clause in the referenced                                            Mark Suhy
                     GitHub thread
                     Email from Shahak Nagiel to multiple recipients at
 114      02/21/19   Next Century instructing to only use ONgDB and               CACI00003476             Jim Weyant
                     delete all Neo4j EE binaries/containers
                     Email from Shahak Nagiel to Marco de Palma, Todd
 115      03/05/19   Hughes and Jim Weyant regarding how to address               CACI00003446             Jim Weyant
                     use of ONgDB over Neo4j EE in public forums
                     Email exchange between Jason Zagalsky and Shahak
                     Nagiel confirming required specifications for a Neo4j
 116      04/01/19                                                            CACI00003301                Jason Zagalsky
                     EE proposal and scheduling meeting with
                     NextCentury and MPO re same
                     Email exchange between Jason Zagalsky and Shahak
                                                                           Dkt. No. 98‐3, Ex. 13,
 117      04/01/19   Nagiel confirming Next Century would continue to                                     Jason Zagalsky
                                                                             filed under seal.
                     use ONgDB instead of Neo4j EE
                     Email from Jason Zagalsky to Shakan Nagiel thanking
                     him for setting up meeting with MPO and attaching
 118      04/19/19                                                            CACI00003155                Jason Zagalsky
                     Neo4j USA's commercial licensing proposal for $2.2
                     million




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                                                                                                                           Date Marked for
Ex. No.     Date                        Description                                Begs Bates         Sponsoring Witness                     Date Admitted
                                                                                                                                 ID
                     Email from Shahak Nagiel to Jason Zagalsky
                     confirming that NextCentury shared Neo4j USA's
 119      04/29/19                                                          CACI00003132                Jason Zagalsky
                     proposal with MPO and confirming that NextCentury
                     continued to use ONgDB
                     Email from Shahak Nagiel to Jason Zagalsky (copying
                     Jim Weyant) confirming that the MPO was not
 120      07/21/19                                                          CACI00002845               Jason Zagalsky
                     interested in paying for a commercial license for
                     Neo4j EE
                     Email exchange between Brad Nussbaum and
 121      01/23/20   Michael Smolyak confirming that MPO still using        CACI00006260               James Weyant
                     ONgDB and interested in version 4.0
                     Email from Michael Smolyak to Tammy Turpin
 122      10/27/20                                                          CACI00005838               James Weyant
                     regarding moving ONgDB into production at MPO
                     Email from Michael Dunn to John Mark Suhy
                     regarding meeting with Jason Zagalsky and John      IGOV0001570725.00            Mike Dunn or John
 123      03/29/17
                     Broad of Neo4j USA and need for 12‐core enterprise           1                      Mark Suhy
                     license in production
                     Email exchange between Michael Dunn and John
 124      10/04/17   Mark Suhy regarding iGov and eGovernment            IGOV000153249.001             John Mark Suhy
                     Solutions supporting the CKGE platform
                     Email sent by John Mark Suhy to Michael Dunn of
                                                                         IGOV0001573245.00
 125      05/22/18   the IRS regarding Neo4j Sweden adding the                                           Mike Dunn
                                                                                  1
                     Commons Clause to Neo4j EE v3.4
                     Email from Jason Zagalsky to Michael Dunn regarding
 126      05/22/18   sole‐source order with eGov Sol for consulting and      N4J_019998                 Jason Zagalsky
                     support of CKGE
                                                                         IGOV0001573245.00
                     Email from John Mark Suhy to Michael Dunn
                                                                                 1;                    Michael Dunn or
 127      05/22/18   regarding Neo4j Sweden adding Commons Clause to
                                                                         IGOV0001573246.00             John Mark Suhy
                     AGPL in Neo4j EE 3.4
                                                                                  1




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                     Email exchange between Lisa Rosenmerkel and Jason
 128      05/31/18   Zagalsky regarding scheduling a meeting regarding             N4J_020061           Jason Zagalsky
                     the IRS's needs relating to Neo4j software
                     Email exchange between Michael Dunn and John
                     Mark Suhy regarding the IRS switching from Neo4j EE IGOV0001573231.00             Michael Dunn or
 129      06/15/18
                     3.2 to Neo4j CE 3.4 in light of change to licensing in          1                 John Mark Suhy
                     Neo4j EE 3.4
                     Email sent by John Mark Suhy to Michael Dunn of
 130      06/29/18   the IRS introducing ONgDB as replacement for Neo4j       IGOV000153225             John Mark Suhy
                     EE
                     Email exchange between Lisa Rosenmerkel and Jason
 131      07/27/18   Zegalsky regarding proposal for Neo4j EE                   N4J_020130              Jason Zagalsky
                     subscription bundle for CKGE environment
                     Email exchange between John Mark Suhy and
                     Michael Dunn recommending that the IRS move            IGOV0001573217.00          Michael Dunn or
 132      08/13/18
                     from Neo4j EE 3.3.2 to ONgDB 3.4.x in the CKGE                 01                 John Mark Suhy
                     framework
                     Email from Michael Dunn to John Mark Suhy
                                                                            IGOV0001573216.00          Michael Dunn or
 133      08/14/18   instructing him to integrate ONgDB into the CKGE
                                                                                     1                 John Mark Suhy
                     framework
                     Email from Michael C. Dunn to John Mark Suhy
                     confirming he will proceed with ONgDB and also         IGOV0001573215.00          Michael Dunn or
 134      08/14/18
                     inviting Raul Tikekar to discuss using ONgDB in YK1             1                 John Mark Suhy
                     platform
                     Email from Ansaldi Joseph to Michael Dunn,
 135      08/24/18                                                          IRS_PROD_00009175           John Mark Suhy
                     forwarding emails from John Mark Suhy regarding
                     Email from John Mark Suhy to A‐Sun Truth regarding
                     Suhy managing "Neo4j Enterprise open source            IGOV0001570120.00
 136      08/28/18                                                                                      John Mark Suhy
                     distributions" at the IRS, which can be found at GFI's          1
                     website.



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                     Email exchange between John Mark Suhy and Patrick
                                                                                                       Michael Dunn or
 137      12/11/18   Martin discussing hardware requirements for CKGE IRS_PROD_00009220
                                                                                                       John Mark Suhy
                     and YK1
                     Email exchange between Martin Patrick and John                                    Michael Dunn or
 138      03/11/19                                                     IRS_PROD_00001738
                     Mark Suhy regarding ONgDB sever instances in CKGE                                 John Mark Suhy
                     Email exchange between Martin Patrick and John
 139      04/24/19   Mark Suhy with Suhy providing download link for     IRS_PROD_00001638   John Mark Suhy
                     ONgDB Enterprise 3.5.3 on IRS repository
                     Email from Joshua Porter to John Mark Suhy seeking
 140      08/22/19   support for ONgDB Enterprise 3.5.3 installed on YK1 IRS_PROD_00001356   John Mark Suhy
                     server at IRS
                     Cancellation of Meeting from Michael Dunn to
                     Patrick Martin, Michael Young, John Mark Suhy,
 141      09/10/19                                                        IRS‐PROD‐00001321    Mike Dunn
                     Joshua Porter, Jonathan Edelson and Joseph Ansaldi
                     re disc of BETA, STAGE, PROD domains
                     Email exchange between Nathan Gire at the IRS and
 142      09/13/19   John Mark Suhy regarding patched version of ONgDB IRS_PROD_00002010     John Mark Suhy
                     3.5.4
                     Email exchange between Joshua Porter at the IRS
                                                                                            Mike Dunn or John
 143      09/17/19   and John Mark Suhy regarding updating ONgDB at      IRS_PROD_00002201
                                                                                               Mark Suhy
                     the IRS from version 3.5.3 to version 3.5.9
                     Email from Michael Dunn to a number of individuals
                     with the IRS, including John Mark Suhy, Michael
 144      09/20/19                                                      IRS_PROD_00001292                 Mike Dunn
                     Stavrianos and Brian Bird regarding new ONgDB
                     libraries available on internal IRS repository
                     Email exchange between Hai Huynh and John Mark
                                                                                                       Michael Dunn or
 145      11/12/19   Suhy regarding downloading ONgDB 3.5.11 from             IRS_PROD_00000473
                                                                                                       John Mark Suhy
                     internal IRS repository and running on IRS laptop




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                     Order for Supplies or Services Contract No. 2032H5‐
 146      09/28/20   19‐A‐00011 to ASR Analytics for Corporate Graph         Depo Exh. 185               Michael Dunn
                     Database
                     Email from John Mark Suhy to donald@fsf.org,
                                                                         IGOV000299652.001;
                     craigt@fsf.org, and licensing@fsf.org re Nov 13th
 147      11/17/20                                                        IGOV0002997653.00             John Mark Suhy
                     2020 Court opinion on AGPL ‐ may need FSF
                                                                                   1
                     involvement
                     Email from John Mark Suhy to Geoffreyk@fsf.org re
                                                                       IGOV000299658.001;
 148      11/17/20   Case regarding AGPL precedent: Nov 13th 2020 ‐                                     John Mark Suhy
                                                                        IGOV000299659.001
                     Case No. 5:19‐cv‐06226‐EJD
                     Email from John Mark Suhy to copyright@fsf.org;
                                                                              IGOV0002997701.00
 149      11/23/20   licensing@fsf.org re Question regarding AGPL and                                   John Mark Suhy
                                                                                      1
                     Verbatim License
                     Stipulated Judgment and Permanent Injunction filed
 150      02/16/21                                                                Depo Exh. 190         Judicial Notice
                     in Neo4j, Inc. et al v. Graph Foundation, Inc. case
                     Doc 118 ‐ Order Granting Plaintiffs' Motion for
 151      05/18/21   Partial Summary Judgment; Denying Defendants''                Dkt. No. 118         Judicial Notice
                     Cross‐Motion for Summary Judgment
                     Software Freedom Conservancy Article titled "An
 152      03/30/22   Erroneous Preliminary Injunction Granted in Neo4j v.         Depo Exh. 10         Bradley M. Kuhn
                     PureThink"
                     Email from John Mark Suhy to Puru Komaravolu and
 153      04/27/22   Michael Dunn re "Article Relating to agpl and                EGOVS_00210           John Mark Suhy
                     commons"




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                     Subcontract Agreement between ASR Analytics, LLC
                     and iGov, Inc. for prime contract #2032H8‐18‐C‐
                     00037 to
                                                                                                       Michael Stavrianos
 154      10/01/18   Tylor Data Services, LLC for consulting services         ASR 01764
                                                                                                       or John Mark Suhy
                     including technical guidance and deployment
                     support related
                     to the CKGE
                     Master Subcontract Agreement between ASR
                     Analytics and iGov, Inc. for Contract No. GS10F0062R                              Michael Stavrianos
 155      11/07/18                                                           Depo Exh. 135
                     / 2032‐H5‐19‐A‐00011 for RAAS Data Analytics and                                  or John Mark Suhy
                     Innovation Support (DAIS)
                     Email from John Mark Suhy to Deborah Tylor, Aaron
                     Taylor, Logan Montrone, Lauren Szczerbinski,         IGOV0002908811.00
 156      01/04/19                                                                                      John Mark Suhy
                     Michael Stavrianos and Sook Seo providing iGov‐               1
                     based download link for ONgDB
                     Email from John Mark Suhy to Joseph Haaga re A few
                                                                        IGOV0002908642.00
 157      02/15/19   engineering questions, confirming ONgDB docker                                     John Mark Suhy
                                                                                1
                     image for 3.4.12 and 3.5.3 available for CKGE
                     Email from John mark Suhy to Michael Stavrianos
                                                                                                       Michael Stavrianos
 158      03/29/19   enclosing resume for Cyber RFQ (KG‐API                         ASR 00719
                                                                                                       or John Mark Suhy
                     engagement)
                                                                        IGOV0002908801.00
                     Email from John Mark Suhy to Michael Stavrianos re         1;
 159      03/29/19                                                                                      John Mark Suhy
                     Resume and Proposed KG‐API engagement structure IGOV0002908802.00
                                                                                1
                     Invoice #212 sent by iGov to ASR for work on Tylor
                                                                                                       Michael Stavrianos
 160      6/6/2019   Data Services, LLC:IRS RAAS Graph Analytics in the     ASR 01901
                                                                                                       or John Mark Suhy
                     amount of $1,750
                     Email from Deborah Tylor to John Mark Suhy,
                                                                                                       Michael Stavrianos
 161      12/06/19   Alexander Seo Sook, Michael Stavrianos and Lauren IRS‐PROD‐00000334
                                                                                                       or John Mark Suhy
                     Szczerbisnski re KGAPI milestones


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                     Volume 1 ‐ Technical Proposal (RFQ‐20‐U0016) ‐ ASR
                     Analytics for RAAS Data Analytics and Innovation
 162      07/27/20                                                                Depo Exh. 137        Michael Stavrianos
                     Support (DAIS) made under Blanket Purchase
                     Agreement for KG‐API
                     Modification 001 to Master Subcontract Agreement
                                                                                                       Michael Stavrianos
 163      06/04/20   for iGov's work at IRS on RAAS Data Analytics and              ASR 01898
                                                                                                       or John Mark Suhy
                     Innovation Support (DAIS)
                     Subcontractor Task Order Number 0001 under ASR‐
                                                                                                       Michael Stavrianos
 164      10/05/20   RAAS_DAIS‐iGov‐0001 for Emerging Compliance                    ASR 01752
                                                                                                       or John Mark Suhy
                     Issues totaling $29,538.00
                     Subcontractor Task Order Number 0002 under ASR‐
                                                                                                       Michael Stavrianos
 165      10/07/20   RAAS_DAIS‐iGov‐0001 for Support for Support for                ASR 01758
                                                                                                       or John Mark Suhy
                     Corporate Graph Database totaling $25,993.44
                     Subcontractor Task Order Number 0001 ‐
                                                                                                       Michael Stavrianos
 166      11/09/21   Modification 01 under ASR‐RAAS_DAIS‐iGov‐0001                  ASR 01755
                                                                                                       or John Mark Suhy
                     for Emerging Compliance Issues totaling $35,470.90
                     Subcontractor Task Order Number 0002 ‐
                     Modification 01 under ASR‐RAAS_DAIS‐iGov‐0001                                     Michael Stavrianos
 167      11/09/21                                                                  ASR 01761
                     for Support for Support for Corporate Graph                                       or John Mark Suhy
                     Database totaling $21,131.60
                     Invoice #267 sent by iGov to ASR for work on
                     TIRS:DAIS BPA (lOT Innovation, Knowledge Graph,                                   Michael Stavrianos
 168      3/5/2021                                                                  ASR 01915
                     Corporate Graph, Emerging Compliance Issues) in                                   or John Mark Suhy
                     the amount of $14,474.12
                     Invoice #303 sent by iGov to ASR for work on
                                                                                                       Michael Stavrianos
 169      7/7/2022   IRS:DAIS BPA (IDT, KG, CG, ECI) in the amount of               ASR 01956
                                                                                                       or John Mark Suhy
                     $6,490.42




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                                                                    Joint Exhibit List
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Ex. No.     Date                         Description                                Begs Bates          Sponsoring Witness                       Date Admitted
                                                                                                                                     ID

                     Master Subcontract Agreement between ASR
                     Analytics and Greystones Consulting Group, LLC for                                Turin Pollard or John
 170      07/07/22                                                             Greystones000656
                     Contract No. GS10F0062R / 2032‐H5‐19‐A‐00011 for                                       Mark Suhy
                     RAAS Data Analytics and Innovation Support (DAIS)
                     Subcontractor Task Order Number 0001_MOD 01
                     under ASR‐RAAS_DAIS‐Greystones‐0001 for                               Turin Pollard or John
 171      10/04/22                                                           ASR 02025
                     Emerging Compliance Issues, replacing Subcontract                          Mark Suhy
                     Agreement with iGov Inc.
                     Subcontractor Task Order Number 0002_MOD 01
                     under ASR_RAAS_DAIS‐Greystones‐0001 for Support                       Turin Pollard or John
 172      11/01/22                                                           ASR 02028
                     for Corporate Graph Database, replacing Subcontract                        Mark Suhy
                     Agreement with iGov Inc.
                     ASR Analytics LLC Transaction List by Vendor
                     1/1/2015 ‐ 07/27/2022 for payments made to iGov
 173      11/02/22   totaling 246,082.55, which the parties stipulated       ASR 01999      Michael Stavrianos
                     accurately reflected amounts ASR paid iGov through
                     07/27/2022
                     ASR Analytics Form 1099‐NEC for 2020 to iGov for
 174       2020                                                              ASR 02000       John Mark Suhy
                     $70,447.22
                     ASR Analytics Form 1099‐NEC for 2021 to iGov for
 175       2021                                                              ASR 02002       John Mark Suhy
                     $127,657.40
                     Email from Sheila Duffy to John Mark Suhy regarding IGOV0001570113.00 John Mark Suhy or
 176      09/14/18
                     PureThink's clients using Neo4j                             1             Turin Pollard
                     Email exchange between Sheila Duffy and John Mark
                                                                         IGOV0001573317.00
 177      08/05/19   Suhy regarding draft email to US Army about                             John Mark Suhy
                                                                                 1
                     Greystones
                     Email exchange between Sheila Duffy, Colleen
                     Delawder and John Mark Suhy regarding               IGOV0001573316.00
 178      08/05/19                                                                           John Mark Suhy
                     introduction to Greystones Group and its use of             1
                     ONgDB



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                                                                                                                            Date Marked for
Ex. No.     Date                         Description                                Begs Bates         Sponsoring Witness                     Date Admitted
                                                                                                                                  ID
                     Email exchange between Sheila Duffy, Colleen           IGOV0001573313.00
                     Delawder of US Army and John Mark Suhy regarding               1;
 179      08/05/19                                                                                      John Mark Suhy
                     introduction to Greystones and its GreyRAVEN           IGOV0001573315.00
                     platform                                                        1
                     Stock Purchase Agreement between John Mark Suhy
                     and Ashwani Mayur and Nikhil Budhiraja where Suhy
                                                                                                       Ashwani Mayur or
 180      12/31/18   sells his shares in eGov Sol to other shareholders for    Depo Exh. 100
                                                                                                        John Mark Suhy
                     $20,000 and the proceeds from the CKGE Contract
                     with the IRS
                     eGovernment Solutions Inc.'s quote for CKGE                                       Ashwani Mayur or
 181      04/06/18                                                            EGOVS_000001
                     Contract prepared by John Mark Suhy                                                John Mark Suhy
                     Order for Supplies or Services Order No. 2032H8‐18‐                               Ashwani Mayur or
 182      05/24/18                                                               EGOVS_000015
                     P‐00151, 1st year of CKGE Contract for $300,000                                    John Mark Suhy
                     Amendment of Solicitation/Modification of Contract
                                                                                                       Ashwani Mayur or
 183      05/31/18   to correct Order No. 2032H8‐18‐P‐00151 to 2032H8‐           EGOVS_000021
                                                                                                        John Mark Suhy
                     18‐P‐00168 for CKGE Contract
                     Amendment of Solicitation/Modification of Contract
                     to exercise option year 1 in the amount of                                        Ashwani Mayur or
 184      05/24/19                                                               EGOVS_000030
                     $200,000.00 with a period of performance is                                        John Mark Suhy
                     5/24/2019 ‐ 5/23/2020 for CKGE Contract
                     Amendment of Solicitation/Modification of Contract
                                                                                                       Ashwani Mayur or
 185      09/26/19   to modify funding for option year 1 by $216,000 for         EGOVS_000034
                                                                                                        John Mark Suhy
                     CKGE Contract
                     Amendment of Solicitation/Modification of Contract
                     to exercise option year 2 in the amount of $200,000                               Ashwani Mayur or
 186      05/24/20                                                               EGOVS_000042
                     for a period of performance of 5/24/2020 to                                        John Mark Suhy
                     5/23/2021 for CKGE Contract
                     Amendment of Solicitation/Modification of Contract
                     to exercise option year 3 in the amount of $200,000                               Ashwani Mayur or
 187      05/24/21                                                               EGOVS_000058
                     for a period of performance of 5/24/2021 to                                        John Mark Suhy
                     5/23/2022 for CKGE Contract


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                                                                                                                                     ID
                      Amendment of Solicitation/Modification of Contract
                      to exercise option year 4 in the amount of $200,000                                 Ashwani Mayur or
 188      05/24/22                                                                  EGOVS_000062
                      for a period of performance of 5/24/2022 to                                          John Mark Suhy
                      5/23/2023 for CKGE Contract
                      Ex 110 ‐ Combined Invoicing Docs (Nos. 817, 827,
                                                                                                          Ashwani Mayur or
 189      2018‐2022   901, 955, 960, 912) for CKGE Contract totaling                EGOVS_000068
                                                                                                           John Mark Suhy
                      $1,316,000
                                                                                                          Ashwani Mayur or
 190        2018      E‐Gov Solutions 1099 to iGov (2018) for $285,700.00           EGOVS_000140
                                                                                                           John Mark Suhy
                                                                                                          Ashwani Mayur or
 191        2019      E‐Gov Solutions 1099 to iGov (2019) for $199,850.00           EGOVS_000141
                                                                                                           John Mark Suhy
                                                                                                          Ashwani Mayur or
 192        2020      E‐Gov Solutions 1099 to iGov (2020) for $193,000.00           EGOVS_000142
                                                                                                           John Mark Suhy
                                                                                                          Ashwani Mayur or
 193        2021      E‐Gov Solutions 1099 to iGov (2021) for $197,000.00           EGOVS_000143
                                                                                                           John Mark Suhy
                      Combined Wells Fargo Bank Statements for
                                                                                  EGOV PRODUCTION         Ashwani Mayur or
 194      2018‐2022   eGovernment Solutions account where IRS deposits
                                                                                         81                John Mark Suhy
                      and payments to iGov were made
                      LinkedIn profile for Richard Starr ‐ Attorney ‐ Irving                              Ashwani Mayur or
 195      10/25/22                                                                   Depo Exh. 116
                      Starr Esq., P.C., counsel of record for Defendants                                   John Mark Suhy
                      iGov Invoice #400 to eGovernment Solutions for
 196      06/01/22                                                                   Depo Exh. 216         John Mark Suhy
                      $189,000
                      Wells Fargo Statements for eGovernment Solutions
 197                                                                                EGOVS_000151           John Mark Suhy
                      Account No. 5581518783
                      Various checks from Wells Fargo Account No.
 198                                                                                EGOVS_000150           John Mark Suhy
                      5581518783 signed by John Mark Suhy
                      Various checks from Wells Fargo Account No.
 199                                                                                EGOVS_000144           John Mark Suhy
                      5581518783 signed by John Mark Suhy
                      PureThink LLC Profit & Loss Statement, January             IGOV0001569059.00
 200        2014                                                                                           John Mark Suhy
                      through December 2014                                              1
                                                                                 IGOV0001569058.00
 201        2015      PureThink LLC's Profit and Loss Statement for 2015                                   John Mark Suhy
                                                                                         1


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                                                                                                                                    ID
                                                                                IGOV0001569057.00
 202        2016      Purethink LLC's Profit and Loss Statement for 2016                                  John Mark Suhy
                                                                                         1
 203        2018      iGov Inc. Profit and Loss Statement for 2018                 Depo Exh. 33           John Mark Suhy
 204        2019      iGov Inc Profit and Loss Statement for 2019                  Depo Exh. 223          John Mark Suhy
 205        2020      iGov Inc Profit and Loss Statement for 2020                  Depo Exh. 225          John Mark Suhy
 206        2021      iGov Inc Profit and Loss Statement for 2021                  Depo Exh. 226          John Mark Suhy
                      9/30/20 archive of GFI's GitHub landing page for its
                      ONgDB repository,                                                                  Jason Zagalsky or
 207      9/30/2020                                                                  N4J_019440
                      https://github.com/graphfoundation/ongdb, from                                      John Mark Suhy
                      the Wayback Machine


                      Result of running git commands for ONgDB 3.4
1001       Dec‐19                                                                                         John Mark Suhy
                      source code branch
                      AGPL LICENSE.txt files for the ONgDB v3.4 source
1002       Dec‐19                                                                                         John Mark Suhy
                      code branch
1003       Dec‐19     NOTICE provision for the ONgDB v3.4 source code                                     John Mark Suhy
                      Results on the native ONgDB git repository for the
1004       Dec‐19                                                                                         John Mark Suhy
                      ONgDB v3.4 branch
                      result of running git commands for ONgDB v3.5
1005       Dec‐19                                                                                         John Mark Suhy
                      source code branch
                      AGPL LICENSE.txt files for the ONgDB v3.5 source
1006       Dec‐19                                                                                         John Mark Suhy
                      code branch
1007       Dec‐19     NOTICE provision for the ONgDB v3.5 source code                                     John Mark Suhy
                      results on the native ONgDB git repository for the
1008       Dec‐19                                                                                         John Mark Suhy
                      ONgDB v3.5 branch
                      Commit which was made on Sat Mar 2 00:09:24
1009      3/2/2019                                                                                        John Mark Suhy
                      2019 ‐0500, by Mr. Suhy
                      Commit from the GitHub.com web browser, by Mr.
1010      3/1/2019                                                                   N4J_013051           John Mark Suhy
                      Suhy



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Ex. No.      Date                           Description                                Begs Bates         Sponsoring Witness                     Date Admitted
                                                                                                                                     ID
                       Statement of Work for the CKGE contract, Statement
1011                                                                                                       John Mark Suhy
                       of Work_FINAL.pdf
                       Emails between Nagiel, Nussbaum, and Suhy re:
1012      2/22/2019                                                                CTRL0002854745          John Mark Suhy
                       Neo4j licensing
                       Emails between Suhy and Broad re: Discontinuation
1013      6/20/2017                                                                   N4J_010800           John Mark Suhy
                       of Neo4j Government Edition
                       Emails between Broad and Suhy re: Neo4j v. RDF Use
1014      2/18/2016                                                                   N4J_004168           John Mark Suhy
                       Cases
                       Emails between Rathle and Suhy re: Agency
1015      10/16/2016                                                                  N4J_002993           John Mark Suhy
                       Requesting Security Control Features (Authorization)
1016                   2016 – Neo4j Government Presentation (Main).pdf                                     John Mark Suhy
                       Emails between Broad and Suhy re: Initial
1017      10/27/2015                                                                  N4J_003078           John Mark Suhy
                       Documents
                       Emails between Fauth and Suhy re: Link for FISMA
1018      11/18/2015                                                                  N4J_003302           John Mark Suhy
                       overview
1019                   Neo4J Government Business Plan.docx                                                 John Mark Suhy
                       Exclusivity agreements April 11, 2015 and June 23,
1020      4/11/2015                                                                                        John Mark Suhy
                       2016
1021                   GPL license used by Neo4j Sweden                                                    John Mark Suhy
                       Emails between Zagalsky, Dunn, and Suhy re: Neo4j
1022       4/4/2017    Licensing Models with fair trade software licensing                                 John Mark Suhy
                       attachment
                       Emails between Zagalsky, and Suhy re: Neo4j
1023       4/4/2017                                                                                        John Mark Suhy
                       Licensing Models
                       Neo Technology License Agreement for Neo4j
1024                                                                                                       John Mark Suhy
                       Software
1025      9/26/2023    NEO4J USPTOTrademark Status                                                         John Mark Suhy
                       Neo Technology Acknowlegement Form & License ‐
1026       6/1/2015                                                                   N4J_001734           John Mark Suhy
                       Sandia National Laboratories
                       Emails between Zagalsky and Dunn on Commons
1027      5/22/2019                                                                   N4J_019995           Jason Zagalsky
                       Clause


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                                                                                                                                    ID
                       AEO Amended and Restated License Agreement
1028       8/1/2010                                                                 NSW_000002            John Mark Suhy
                       between Neo‐Sweden and Neo‐US
1029      11/14/2022   AEO Monthly Closed Won Report ‐ Government                    N4J_020132            Jason Zagalsky
1030       1/6/2021    EUIPO EUTM File Information for NEO4J                                              John Mark Suhy
                       USPTO Trade/Service Mark Application, Principal
1031                                                                                                      John Mark Suhy
                       Register
1032      2/28/2020    NEO4J Sweden's response to Defendants' RFP, Set 1                                  John Mark Suhy
1033      12/22/2022   Expert Report of Bradley M. Kuhn                                                  Bradley M. Kuhn
1034       2/16/2021   GFI Stipulated Judgment and Permanent Injunction                                  John Mark Suhy
1035       7/16/2020   Neo4J v. GFI First Amended Complaint                                              John Mark Suhy
1036       8/23/2018   Meeker on Services and Commons Clause                                             John Mark Suhy
1037      11/13/2018   Github Issue #11821, Meeker Response                          N4J_019444          John Mark Suhy
                       Preventing specialized consultants? #4 fossa /
1038      8/22/2018                                                                                       John Mark Suhy
                       commons‐ clause issue
1039      12/2/2019    The Commons Clause license with FAQ                                                John Mark Suhy
                       Emails between Suhy and Broad re: Initial
1040      10/26/2015                                                              PT00002684.001          John Mark Suhy
                       Documents, with attachments
                       Emails between Suhy and Dunn re: Neo4j latest            IGOV0001573245.00
1041      5/22/2018                                                                                       John Mark Suhy
                       happenings, with attachments                                     1
1042      8/15/2016    Email between Suhy and Lars Nordwall re: IRS                N4J_006800             Jason Zagalsky
1043      8/15/2016    Email between Suhy and Lars Nordwall re: IRS                N4J_006825             Jason Zagalsky
1044      4/28/2016    Email between Suhy and John Broad re: IRS                   N4J_005415             Jason Zagalsky
                       Email between Suhy and Matthew Fredrickson re:
1045      8/22/2016                                                                  N4J_011664           Jason Zagalsky
                       IRS
1046      9/30/2016    Email from Jason Zagalsky re: IRS                             N4J_007407           Jason Zagalsky
                       Email between Matthew Fredrickson and Neo4j
1047       1/3/2017                                                                  N4J_009572           Jason Zagalsky
                       Employees re: IRS
1048      3/29/2017    Email between John Broad and Jason Zagalsky re: IRS           N4J_010306           Jason Zagalsky

1049      3/30/2017    Email between Jason Zagalsky and John Broad re: IRS           N4J_010308           Jason Zagalsky



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1050      3/31/2017    Email between Jason Zagalsky and John Broad re: IRS           N4J_010353           Jason Zagalsky

1051       4/4/2017    Email between Jason Zagalsky and John Broad re: IRS           N4J_010528           Jason Zagalsky
1052       4/4/2017    Email from Jason Zagalsky to IRS re: AGPL                     N4J_010498           Jason Zagalsky
1053       4/4/2017    Email from Jason Zagalsky re: IRS AGPL                        N4J_010492           Jason Zagalsky
                       Email between Jason Zagalsky and John Broad re:
1054      5/13/2017                                                                  N4J_010611           Jason Zagalsky
                       Breach
                       Email between Lars Nordwall and other Neo4j staff
1055      5/21/2017                                                                  N4J_010619           Jason Zagalsky
                       re: partnership termination
1056      5/26/2017    Email between John Broad and Jason Zagalsky re: IRS           N4J_010621           Jason Zagalsky
                       Email between John Broad and Jason Zagalsky re:
1057      6/16/2017                                                                  N4J_010789           Jason Zagalsky
                       termination reason
                       Email from John Broad re: Discontinuation of Neo4j
1058      6/19/2017                                                                  N4J_010794           Jason Zagalsky
                       Government Edition
                       Email from Jason Zagalsky to partner re:
1059      6/21/2017                                                                  N4J_010817           Jason Zagalsky
                       Government Edition
                       Email between Jason Zagalsky and a partner re:
1060      6/22/2017                                                                  N4J_010862           Jason Zagalsky
                       Government Edition
                       Email between Jason Zagalsky and John Broad re:
1061       7/1/2017                                                                  N4J_010894           Jason Zagalsky
                       Termination
1062      7/11/2017    Email from Jason Zagalsky to IRS re: Termination              N4J_010916           Jason Zagalsky
1063      7/17/2017    Email from Jason Zagalsky to IRS re: Termination              N4J_010929           Jason Zagalsky
                       Email from Michael Dunn to Jason Zagalsky re:
1064       8/8/2017                                                                  N4J_011051           Jason Zagalsky
                       License
1065      9/6/2017     Email between Jason Zagalsky and Neo4j re: IRS                N4J_011094           Jason Zagalsky
1066      9/14/2017    Notes provided by Jason Zagalsky re: NGA                      N4J_011097           Jason Zagalsky
1067       9/8/2017    Email from John Mark Suhy to Carol Sinnard at NGA             N4J_011108           John Mark Suhy
1068      11/11/2017   Email from John Broad to BAH: Re PureThink                    N4J_011154           Jason Zagalsky
1069       12/1/2017   Email between Jason Zagalsky and Anthoy Flynn                 N4J_011161           Jason Zagalsky


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                       Document provided in discovery from Request for
1070                                                                             00014264‐00014282         John Mark Suhy
                       Production 2 for PureThink
1071      1/18/2017    Email between Jason Zagalsky and John Broad re: IRS            N4J_009667           Jason Zagalsky
1072       8/12/2016   Email from John Mark Suhy relating to IRS SOW                  N4J_006762           John Mark Suhy
1073       8/12/2016   Email from John Mark Suhy relating to IRS SOW                  N4J_006813           John Mark Suhy
1074      10/20/2016   Email from Jason Zagalsky re: IRS Invoicing                    N4J_007976            Jason Zagalsky
                       Internal Neo4j Email from John Broad relating to IRS
1075      12/22/2016                                                                  N4J_008988           Jason Zagalsky
                       agreement
1076      4/27/2016    Email from David Fauth to Neo4j Team re: IRS                   N4J_005389           Jason Zagalsky
                       Email between Jason Zagalsky and David Mohr re:
1077      10/23/2016                                                                  N4J_008109           Jason Zagalsky
                       Gov Edition
1078      3/28/2017    Email between Jason Zagalsky and John Broad re: IRS            N4J_010289           Jason Zagalsky
                       Document provided during discovery re: Neo4j
1079                                                                      00014287‐00014303                John Mark Suhy
                       Government Business Plan
                       Email from John Broad to John Mark Suhy with order
1080      9/27/2016                                                          N4J_007349                      John Broad
                       form
                       Order Form attached to email referenced in
1081      9/27/2016                                                          N4J_007359                      John Broad
                       N4J_007349
                       Email from John Mark Suhy to IRS relating to IRS
1082      7/12/2017                                                        CTRL0002854280                  John Mark Suhy
                       order
                       Email between John Mark Suhy, John Broad, and
1083       4/4/2017                                                          N4J_010513                    John Mark Suhy
                       Jason Zagalsky re AGPL at IRS
                       Email between Jason Zagalsky and Joseph McMahon
1084      8/10/2017                                                          N4J_011077                    Jason Zagalsky
                       re open source
                       Email between Jason Zagalsky and Benjamin West re
1085       8/7/2017                                                          N4J_011007                    Jason Zagalsky
                       open source
                       Email from John Mark Suhy to IRS relating to
1086                                                                       CTRL0002854624                  John Mark Suhy
                       Enterprise License
                                                                             N4J_000010‐
1087      7/11/2017    Breach Letter                                                                       Jason Zagalsky
                                                                             N4J_000010


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                                                                                    N4J_000009‐
1088                   Breach Warning                                                                     Jason Zagalsky
                                                                                    N4J_000009
1089      6/30/2017    John Mark Suhy's Response to Breach Letter                   N4J_010877            Jason Zagalsky
1090                   John Mark Suhy Email to John Broad re: Breach                N4J_010903            Jason Zagalsky
1091      6/15/2017    Email from John Broad to John Mark Suhy Re: Breach            N4J_010783           Jason Zagalsky

1092      6/20/2017    Email from John Mark Suhy to John Broad re: Breach            N4J_010879           Jason Zagalsky
                       Email from John Mark Suhy to Sakshi Oberi re:
1093      4/13/2021                                                               CTRL0002963721          John Mark Suhy
                       Graphstack
                       Email from John Mark Suhy to user asking about
1094      3/25/2021                                                               CTRL0002998255          John Mark Suhy
                       graphstack.
                       Email from John Mark Suhy to Kevin Lawson re: open
1095      7/31/2018                                                               CTRL0002860424          John Mark Suhy
                       source
1096      11/14/2017   Blog post relating to Neo4j open source                       N4J_013020           Jason Zagalsky
                       iGovsol.com website screenshot with downloads and
1097      10/2/2019                                                                  N4J_013004           Jason Zagalsky
                       faq
                                                                                    N4J_000011‐
1098       8/5/2018    Purethink.com website screenshot                                                   Jason Zagalsky
                                                                                    N4J_000012
                       Email between Benjamin Nussbaum and John Mark
1099      2/19/2019                                                               CTRL0002854757          John Mark Suhy
                       Suhy re handing off to NextCentury
                       Email between Ben Nussbaum and John Suhy re:
1100      2/18/2019                                                               CTRL0002854761          John Mark Suhy
                       NextCentury
                       Email between Brad Nussbaum and Shahak Nagiel of
1101      2/19/2019                                                               CTRL0002854753          John Mark Suhy
                       Next Century re commons clause.
                       Email between Brad Nussbaum and Shahak Nagiel of
1102      2/19/2019                                                               CTRL0002854754          John Mark Suhy
                       Next Century re ONgDB
                       Next Century document showing comparisons of
1103                                                                               CACI00005257           John Mark Suhy
                       technologies.
                       Email between Shahak Nagiel and Brad Nussbaum
1104                                                                              CTRL0002854745          John Mark Suhy
                       re: Ongdb



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                 Email between John Broad and John Mark Suhy re:
1105                                                                          N4J_003078           Jason Zagalsky
                 Gov initiatives
1106             John Mark Suhy's commit for ongdb agpl                       N4J_013051           Jason Zagalsky




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